UNITED STATES DISTRICT COURT                                                                     10/12/2021
SOUTHERN DISTRICT OF NEW YORK


  Securities & Exchange Commission,

                          Plaintiffs,
                                                                                     17-cv-3919 (AJN)
                  –v–
                                                                                           ORDER
  Blaszczak, et al,

                          Defendants.



ALISON J. NATHAN, District Judge:

        On June 24, 2018, the Court granted Defendants’ joint motion to stay the proceedings in

this matter pending resolution of Defendants’ criminal appeals. Dkt. No. 54. The Court

instructed the parties to file a joint letter with the Court notifying it of the resolution of

Defendants’ criminal appeals within 14 days of such resolution, but has not received any updates

in nearly two years. The parties are ordered to file a joint status letter updating the Court on the

status of the criminal appeals by October 26, 2021.




        SO ORDERED.

 Dated: October 12, 2021
        New York, New York                           ____________________________________
                                                               ALISON J. NATHAN
                                                             United States District Judge




                                                    1
